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                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE APPLICATION OF                       :   1:22-mc-00756
PENN LIVE, YORK DAILY                      :
RECORD, AND YORK DISPATCH                  :
TO UNSEAL COURT RECORDS                    :
                                           :
                                           :
                                     ORDER
                                 November 18, 2022


      On September 29, 2022, PennLive, the York Daily Record, and the York

Dispatch (“the newspapers”) filed an application to unseal court records relating to

a purported search warrant (“the application to unseal”). This order does not deal

with the underlying merits of the application to unseal. Rather, this order deals

with two separate motions to seal documents filed by the United States.

      The United States’ first motion to seal seeks to file under seal and ex parte

the United States’ opposition to the newspaper’s application to unseal

(“opposition”). The newspapers filed a brief in opposition to the United States’

motion to seal their opposition.1 They contend that the court should deny the


      1
         In accordance with the local rules of court, the United States did not set
forth in its motion to seal the nature of the document that it is seeking to file under
seal. See M.D. Pa. L. Crim. R. 49(c)(1) (“The motion to file a document under seal
shall contain no description or identification of the document for which the sealing
order is sought or statement of reasons why the filing of the document under seal
should be authorized.”). But the newspapers correctly surmised that the United
States was seeking to file under seal its opposition to the newspapers’ application
to unseal.
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United States’ motion to seal and order the United States to file its opposition on

the docket or to, at least, file a redacted version of its opposition.

      After the newspapers filed their brief in opposition to the United States’ first

motion to seal, the United States filed a second motion to seal. In this second

motion to seal, the United States seeks to file under seal and ex parte its reply to

the newspapers’ brief in opposition to its first motion to seal (“reply’).2 The

newspapers then filed a brief in opposition to the second motion to seal. Not

knowing the exact nature of the document that the United States seeks to file under

seal, the newspapers refer to it as a supplement, and they assert that the United

States’ request to file this document completely under seal is overbroad. They

contend that the court should deny the United States’ motion to seal and order the

United States to file its supplement, or a redacted version of its supplement, on the

docket.3




      2
         Again, in accordance with the local rules of court, the United States did
not set forth in its motion to seal the nature of the document that it is seeking to file
under seal.
      3
         We address both of the United States’ motions to seal in this order without
waiting for a reply brief from the United States in support of its second motion to
seal. Otherwise, we fear we will fall into a never-ending loop of the United States
filing a motion to seal, the newspapers filing a brief in opposition, and the United
States then filing another motion to seal its reply. We understand the parties’
arguments regarding the motions to seal filed by the United States.

                                            2
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      Both the United States’ opposition and its reply are judicial records, and

because the public has a presumptive right of access to judicial records, but that

right is not absolute, the court must balance the public’s right of access against the

interests that the United States contends warrant secrecy in this case. To that end,

we will order the United States to file redacted versions of its opposition and its

reply under seal and ex parte. We will then review those redactions line-by-line to

determine as to which, if any, of those redactions the United States has met its

burden of showing that the interests in secrecy it puts forth outweigh the public’s

presumptive right to access.

      Based on the foregoing, IT IS ORDERED that on or before December 2,

2022, the United States shall file under seal and ex parte proposed redactions to its

opposition and reply.



                                              S/Susan E. Schwab
                                              Susan E. Schwab
                                              United States Magistrate Judge




                                          3
